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		OSCN Found Document:IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

					

				
  



				
					
					
						
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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2021 OK 36Case Number: SCBD-7059Decided: 06/07/2021As Corrected: June 10, 2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 36, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2021 DUES

ORDER OF SUSPENSION FOR NONPAYMENT OF DUES

On May 24, 2021, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of Oklahoma Bar Association members who failed to pay dues for the year 2021 as required by the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011, ch. 1, app. 1, art. VIII, § 1. The Board of Governors recommended that the members whose names appear on Exhibit A attached to the Application be suspended from membership in the Oklahoma Bar Association and from the practice of law in the State of Oklahoma, as provided by the Rules, 5 O.S. 2011, ch. 1, app. 1, art.&nbsp;VIII, § 2.

This Court finds that on April 15, 2021, the Executive Director of the Oklahoma Bar Association notified by certified mail all members delinquent in the payment of dues and/or expense charges to the Oklahoma Bar Association for the year 2021. The Board of Governors have determined that the members set forth in Exhibit A, attached hereto, have not paid their dues and/or expense charges for the year as provided in the Rules.

This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from the Oklahoma Bar Association membership and shall not practice law in the State of Oklahoma until reinstated.

IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to pay membership dues for the year 2021 as required by the Rules Creating and Controlling the Oklahoma Bar Association.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 7TH DAY OF JUNE, 2021.

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/S/CHIEF JUSTICE

Darby, C.J., Kane, V.C.J., Kauger, Winchester, Edmondson, Combs, Gurich and Rowe, JJ., concur.

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EXHIBIT A
(DUES - SUSPENSION)

Arya Affeldt Adibi, OBA #30837
6226 E 98th ST
Tulsa, OK 74137

Andrew David Balint, OBA #22373
114 N Grand Ave Ste 408
Okmulgee, OK 74447-4032

Sara Jane Boeckman, OBA #12460
10339 Veneto Cir
The Village, OK 73120

Robert Harold Butler, OBA #13667
405 Cug Hill CT
Claremore, OK 74019

Mitchell Kenneth Coatney, OBA #21066
16328 Muirfield PL
Edmond, OK 73013

Alan Richard Fedman, OBA #2854
1851 San Ramon Ave
Berkeley, CA 94707

Wesley C. Fredenburg, OBA #3114
833 Great Oaks Trl
Eagan, MN 55123-2435

Grant Chase Garrard, OBA #30085
1797 Dexter ST
Broomfield, CO 80020

James Troy Gaston, OBA #19813
1405 W Center ST Ste 300
Greenwood, AR 72936

Erin Williams Gerner, OBA #21407
6303 Belmont Ave
Dallas, TX 75214-3627

Robert Eugene Goins, OBA #32235
7820 E Galveston ST
Broken Arrow, OK 74014-7060

Jennifer Lynne Graf, OBA #31812
Kilpatrick, Townsend &amp; Stockton LLP
2001 Ross Ave Ste 4400
Dallas, TX 75201

Matthew Hadyn Griffith, OBA #18713
80 E 5th ST Ste 100
Edmond, OK 73034-3830

Matthew Dwight Haire, OBA #14916
313 NE 21st ST
Oklahoma City, OK 73105

Dianne Barker Harrold, OBA #12207
7308 W 805 RD
Fort Gibson, OK 74434-6014

Keegan Kelley Harroz, OBA #30383
625 NW 13th ST
Oklahoma City, OK 73103

Stanley Wayne Holloway, OBA #14497
6801 White Bluff Trl
Amarillo, TX 79118

Joy Dawn Jones, OBA #32639
PO Box 911
Miami, OK 74355-0911

Sean Wesley Kilian, OBA #31117
2200 Ross Ave Ste 2800
Dallas, TX 75201

Randolph Lee Marsh, OBA #17313
5 Timber Creek Cir
Shawnee, OK 74804

Brittany Lee Mayes, OBA #30400
4100 Coventry LN
Norman, OK 73072

M. Louise McFall, OBA #10332
2117 Hidden Creek CT
Edmond, OK 73034

Ryan Matthew McFarlin, OBA #22232
PO Box 224114
Dallas, TX 75222

Gary Ray McSpadden, OBA #6093
321 S Boston Ave Ste 500
Tulsa, OK 74103

John Scot Overbey, OBA #32094
5454 Washington Ave Apt 3604
Houston, TX 77007-6409

Christi Marie Panter, OBA #31714
PO Box 231
Brewster, KS 67732-0231

Beauchamp Marcellus Patterson, OBA #19188
420 Throckmorton ST St 550
Fort Worth, TX 76102

Chad Robert Reineke, OBA #20316
PO Box 14733
Oklahoma City, OK 73113-0733

Joseph Keith Remmel, OBA #30813
5323 S Harvard Ave Apt E
Tulsa, OK 74135

Chadwick R. Richardson, OBA #15589
4890 E 68th ST Unit 226
Tulsa, OK 74136-4955

Casey Lee Saunders, OBA #20829
PO Box 2318
Ada, OK 74821

William Donald Smith, OBA #15845
925 NW 6th ST
Oklahoma City, OK 73106

Phillip John Shyers, OBA #33611
2223 E. 55th CT
Tulsa, OK 74105

Nicholas James Strawn, OBA #32190
4423 Cole Ave Apt 217
Dallas, TX 75205

Gary Arthur Taylor, OBA #8860
3233 NW 17th ST
Oklahoma City, OK 73107

Sarah Grace Trainer, OBA #32964
10001 Woodloch Forest DR Ste 300
The Woodlands, TX 77380

Daniel Martin Vigilius, OBA #34042
1770 S Rock RD Apt 604
Wichita, KS 67207

Delores W. Warren, OBA #15061
8011 Gardner DR
Alpharetta, GA 30009

Nicholas Weeks, OBA #33786
999 Jessica Leigh ST
Elkins, AR 72727

Carroll R. Wheeler, OBA #10519
313 Italy ST NE
Valese, NC 28690-2431

Michael Patrick Whelan, OBA #22782
6151 E 52nd ST
Tulsa, OK 74135-7714

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